                 Case 2:20-cv-08837-SVW-MAA Document 28 Filed 11/04/20 Page 1 of 2 Page ID #:264



                                1   BUCHALTER
                                    A Professional Corporation
                                2   WILLMORE F. HOLBROW III (SBN: 169688)
                                      wholbrow@buchalter.com
                                3   MATTHEW L. SEROR (SBN: 235043)
                                      mseror@buchalter.com
                                4   SEAN M. CASEY (SBN: 179641)
                                      scasey@buchalter.com
                                5   1000 Wilshire Blvd., Suite 1500
                                    Los Angeles, CA 90017
                                6   Telephone: 213.891.0700
                                7   BUCHALTER
                                    A Professional Corporation
                                8   DYLAN WISEMAN (SBN: 173669)
                                       dwiseman@buchalter.com
                                9   55 Second Street, Suite 1700
                                    San Francisco, CA 94105-3493
                          10        Telephone: 415.227.3546
                          11        Attorneys for Plaintiffs JERRY A. SPOLAR
                                    and TONNY JILL WILLIAMSON
                          12
                          13                             UNITED STATES DISTRICT COURT
                          14                           CENTRAL DISTRICT OF CALIFORNIA
                          15
                          16 JERRY A. SPOLAR, an individual;                   Case No. 2:20-cv-08837
                             TONNY JILL WILLIAMSON, an
                          17 individual,                                  PLAINTIFFS’ DISMISSAL OF
                                                                          DISCOVERY COMMUNICATIONS,
                          18                    Plaintiffs,               LLC WITHOUT PREJUDICE
                          19             vs.
                          20 DISCOVERY COMMUNICATIONS,
                             LLC, a Delaware limited liability
                          21 company; UNREALISTIC IDEAS, LLC,
                             a Delaware limited liability company;
                          22 PIECE OF WORK PRODUCTIONS,
                             LLC, a California limited liability
                          23 company; ARCHIE GIPS, an individual;
                             WHITNY BRAUN, an individual; JAMES
                          24 BRAUN, an individual; and DOES 1
                             through 25,
                          25
                                         Defendants.
                          26
                          27
                          28
      BUCHALTER
A PROFES SION AL CORPORAT ION
           IRVINE
                                    STIPULATION OF DISMISSAL
                 Case 2:20-cv-08837-SVW-MAA Document 28 Filed 11/04/20 Page 2 of 2 Page ID #:265



                                1        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs
                                2 JERRY A. SPOLAR and TONNY JILL WILLIAMSON hereby dismiss the claims
                                3 against Defendant DISCOVERY COMMUNICATIONS, LLC, a Delaware limited
                                4 liability company, without prejudice. Each side will bear their own costs and
                                5 attorneys’ fees.
                                6
                                7        Respectfully submitted,
                                8
                                9 DATED: November 4, 2020                BUCHALTER
                                                                         A Professional Corporation
                          10
                          11
                                                                         By:
                          12                                                     WILLMORE F. HOLBROW III
                                                                                     DYLAN WISEMAN
                          13                                                        MATTHEW L. SEROR
                                                                                      SEAN M. CASEY
                          14                                                        Attorneys for Plaintiffs
                          15
                          16
                          17
                          18
                          19
                          20
                          21
                          22
                          23
                          24
                          25
                          26
                          27
                          28
      BUCHALTER
A PROFES SION AL CORPORAT ION
           IRVINE
                                                                             1
                                    STIPULATION OF DISMISSAL
